  Case: 4:13-cv-00502-CAS Doc. #: 11 Filed: 05/30/13 Page: 1 of 2 PageID #: 31




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
          Plaintiff,                            )
                                                )
    v.                                          )        No. 4:13-CV-502 CAS
                                                )
EIGHTY-EIGHT THOUSAND, TWO                      )
HUNDRED SIXTY-SEVEN DOLLARS                     )
($88,267.00) U.S. CURRENCY,                     )
                                                )
          Defendant.                            )

                                 FINAL JUDGMENT AND ORDER

     This matter is before the Court on the Consent Motion for Entry of Order of Forfeiture filed

by the United States of America.

     WHEREAS, all potential claimants have been given notice of this proceeding in accordance

with the requirements of Supplemental Rule G of the Federal Rules of Civil Procedure, and the time

for filing claims has expired;

     AND WHEREAS a settlement agreement has been reached between the United States and

Claimant Eyton Senders, who is the only claimant joined in this proceeding;

     AND WHEREAS, pursuant to that agreement, the parties have agreed to the entry of a final

judgment and order of forfeiture as set forth below;

     Accordingly,

     IT IS HEREBY ORDERED that the Consent Motion for Entry of Order of Forfeiture is

GRANTED. [Doc. 10]
  Case: 4:13-cv-00502-CAS Doc. #: 11 Filed: 05/30/13 Page: 2 of 2 PageID #: 32




     IT IS FURTHER ORDERED that a portion of the defendant currency in the amount of

Thirty-Eight Thousand, Two Hundred Sixty-Seven Dollars ($38,267.00) shall be forfeited to the

United States of America to be disposed of according to law.

     IT IS FURTHER ORDERED that a portion of the defendant currency in the amount of Fifty

Thousand Dollars ($50,000.00), less any debt owed to the United States, any agency of the United

States, or any other debt in which the United States is authorized to collect pursuant to the Debt

Collection Improvement Act of 1966, Title 31, United States Code, Section 3716 and other programs

such as the Treasury Offset Program, shall be returned to the Claimant, Eyton Senders, by and

through his attorney, Ronald Richards.

     For purposes of determining an offset pursuant to 31 U.S.C. §3716, thirty-five percent (35%)

of the $50,000.00 returned amount ($17,500.00) shall be deemed to constitute attorney fees

belonging to Claimant’s attorney of record in this case, Ronald N. Richards, Esq., while the

remaining sixty-five percent (65%) of the $50,000.00 ($32,500.00) returned amount shall be deemed

to belong to the Claimant.

     IT IS FURTHER ORDERED that each party shall bear its own costs incurred in this action.


                                                    IT IS SO ORDERED,




                                                    CHARLES A. SHAW
                                                    UNITED STATES DISTRICT JUDGE

Dated this 30th day of May, 2013.



                                                2
